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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SUZANNE DAKESSIAN,             )
                               )
     Plaintiff,                )             CASE NO.: 1:17-CV-01151-GMS
                               )
             v.                )             JURY TRIAL DEMANDED
                               )
WILLIAM SCHELL, IV, DOMINICK   )
DAFFNER, WORLD CHAMPIONSHIP    )
PUNKIN’ CHUNKIN’ INC., PUNKIN  )
CHUNKIN ASSOCIATION, FRANK     )
PEYTON, FRANK SHADE, TERRY     )
BREWSTER, DAVID QUIGLEY,       )
MCCULLEY, EASTHAM &            )
ASSOCIATES, INC., WHEATLEY     )
FARMS, INC., E. DALE WHEATLEY, )
JEFFREY T. WHEATLEY, DISCOVERY )
COMMUNICATIONS, INC.; STATE OF )
DELAWARE; and the STATE OF     )
DELAWARE (DEPARTMENT OF        )
NATURAL RESOURCES AND          )
ENVIRONMENTAL CONTROL);        )
                               )
     Defendants.               )                           
 
                                    SCHEDULING ORDER
        This 30th day of January, 2018, the Court having conducted a Rule 16 Scheduling

Conference pursuant to Local Rule 16.2(b) on October 18, 2017, and the parties having

determined after discussion that the matter cannot be resolved at this juncture by settlement,

voluntary mediation or binding arbitration;

IT IS ORDERED that:

        1.   Rule 26(a) Initial Disclosures: Unless otherwise agreed to by the parties, they shall

make their initial disclosures pursuant to Federal Rules of Civil Procedure 26(a) on or before

December 11, 2017.
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       2.     Joinder of other Parties and Amendment of Pleadings: All motions to join other

parties and amend the pleadings shall be filed on or before December 15, 2017.

       3.     Discovery: All discovery in this case shall be initiated so that it will be completed

on or before March 27, 2019. See Exhibit A.

               a. Discovery and Scheduling Matters: Should counsel find they are unable to

resolve a discovery or scheduling matter, the party seeking the relief shall contact chambers at

(302) 573-6470 to schedule a telephone conference. Not less than forty-eight hours prior to the

teleconference, the parties shall file with the court, via electronic means (CM/ECF), a Joint

Letter Agenda, which is non-argumentative, not to exceed two (2) pages outlining the issue(s)

in dispute.   A sample letter can be located on this court’s website at www.ded.uscourts.gov.

After the parties have had three (3) discovery teleconferences, they will be required to file a joint

letter showing good cause why the court should permit a fourth discovery teleconference.

Should the court find further briefing necessary upon conclusion of the telephone conference,

unless otherwise directed, the party seeking relief shall file with the court a TWO PAGE

LETTER, exclusive of exhibits, describing the issues in contention. The responding party shall

file within five (5) days from the date of service of the opening letter an answering letter of no

more than TWO PAGES. The party seeking relief may then file a reply letter of no more than

TWO PAGES within three (3) days from the date of service of the answering letter.

       4.      Confidential Information and Papers filed under Seal: Should counsel find it

will be necessary to apply to the court for a protective order specifying terms and conditions for

the disclosure of confidential information, they should confer and attempt to reach an agreement

on a proposed form of order and submit it to the court within ten (10) days from the date of this

order. When filing papers under seal, counsel should deliver to the Clerk an original and two

copies of the papers.
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If, after making a diligent effort, the parties are unable to agree on the contents of the

joint, proposed protective order, then they shall follow the dispute resolution process

outlined in paragraph 3(a).

       5.    Settlement Conference: Pursuant to 28 U.S.C. § 636, this matter is referred to the

United States Magistrate Judge for the purpose of exploring the possibility of a settlement. The

parties shall wait to be contacted by the assigned United States Magistrate Judge.

       6.     Case Dispositive Motions: All case dispositive motions and an opening brief and

affidavits, if any, in support of the motion shall be served and filed on or before deadline yet to

be determined. Briefing will be presented pursuant to the Court’s Local Rules.         The parties

may agree on an alternative briefing scheduling. Any such agreement shall be in writing and

filed with the Court for the Court’s approval. Any request for extensions of time as set forth

in this Scheduling Order must be accompanied by an explanation or your request will be denied.

       7.         Applications by Motion: Except as provided in this Scheduling Order or for

matters relating to scheduling, any application to the Court shall be by written motion filed, via

electronic means (CM/ECF). Unless otherwise requested by the Court, counsel shall not deliver

copies of papers or correspondence to Chambers. Any non-dispositive motion should contain

the statement required by Local Rule 7.1.1.

       8.     Oral Argument. If the Court believes that oral argument is necessary, the Court

will schedule a hearing Pursuant to Local Rule 7.1.4.

       9.     Pretrial Conference. On May 28, 2019, beginning at 10:00 AM in Courtroom 4A,

the Court will hold a Pretrial Conference, in Chambers for Jury trials and via telephone for

Bench trials, with counsel. Unless otherwise ordered by the Court, the parties should assume

that filing the Joint Pretrial Order satisfies the pretrial disclosure requirement in Federal

Rule of Civil Procedure 26(a)(3). A sample form of Pretrial Order can be located on this

court’s website
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at www.ded.uscourts.gov.          Thirty (30) days before the Joint Proposed Pretrial Order is due,

plaintiff’s counsel shall forward to defendant’s counsel a draft of the pretrial order containing the

information plaintiff proposes to include in the draft. Defendant’s counsel shall, in turn, provide

to plaintiff’s counsel any comments on the plaintiff’s draft, as well as the information defendant

proposes to include in the proposed pretrial order.                Motions in limine: NO MOTIONS IN

LIMINE SHALL BE FILED; instead, the parties shall be prepared to address their evidentiary

issues at the Pretrial Conference and during trial (before and after the trial day). The parties

shall file with the court the joint Proposed Final Pretrial Order in accordance with the terms and

with the information required by the form of Final Pretrial Order, which can be located on this

court’s website at www.ded.uscourts.gov on or before the close of business on May 13, 2019.

        10.       Trial. This matter is scheduled for a 5 day jury trial beginning at 9:30 AM on

June 10, 2019 in Courtroom 4A.

        11.         Scheduling:       The parties shall contact chambers, at (302) 573-6470, only in

situations where scheduling relief is sought and only then when ALL participating counsel is on

the line for purposes of selecting a new date.



                                                              ___________________________________
                                                              UNITED STATES DISTRICT JUDGE




1         The parties should simply list, in an Exhibit to be attached to the Pretrial Order, the issues under a heading
such as “Plaintiff’s [name of party] List of Evidentiary Issues It Intends To Raise.”
